   Case 1:15-cr-00033-EAW-HKS          Document 303       Filed 12/19/17     Page 1 of 23




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________

UNITED STATES OF AMERICA,

              v.
                                                                    15-CR-33-A
RODERICK ARRINGTON,                                            DECISION AND ORDER

                Defendant.
__________________________________

       This case is before the Court on Defendant Roderick Arrington’s renewed motion

for judgment of acquittal, pursuant to Federal Rule of Criminal Procedure 29. See Docket

No. 265 (Def. Mtn.). The Defendant also moves to dismiss the superseding indictment

for lack of subject-matter jurisdiction. For the reasons stated below, both motions are

denied.

                                      BACKGROUND

       The Defendant was convicted on eight counts of a twelve-count redacted

indictment. Specifically, the Defendant was convicted of (1) racketeering conspiracy, in

violation of 18 U.S.C. § 1962(d); (2) narcotics conspiracy, in violation of 21 U.S.C. § 846;

(3) using or carrying a firearm during and in relation to the commission of, or possessing

a firearm in furtherance of, Counts 1 and 2, in violation of 18 U.S.C. § 924(c)(1)(A)(i) and

§ 2; (4) murder in aid of racketeering, in violation of 18 U.S.C. § 1959(a)(1); (5) discharge

of a firearm in furtherance of Count 4, in violation of 18 U.S.C. § 924(c)(1)(A)(iii); (6)

discharge of a firearm causing death in furtherance of Count 4, in violation of 18 U.S.C.

§ 924(c)(1)(A)(iii) and § 924(j)(1); (7) attempted murder in aid of racketeering, in violation




                                              1
    Case 1:15-cr-00033-EAW-HKS                Document 303           Filed 12/19/17        Page 2 of 23




of 18 U.S.C. § 1959(a)(5); and (8) discharge of a firearm in furtherance of Count 7, in

violation of 18 U.S.C. § 924(c)(1)(A)(iii). 1

        Over the course of a nine-day jury trial, the Government introduced over 100

exhibits and testimony from forty-one witnesses. 2 In brief, the evidence showed that the

Defendant was a member of the Schuele Boys, 3 a drug-trafficking organization that

operated on and around the area of Schuele Avenue, in Buffalo, New York. The evidence

showed that co-defendants Aaron Hicks, Marcel Worthy, and Letorrance Travis operated

a large-scale cocaine trafficking organization that purchased hundreds of kilograms of

cocaine, as well as marijuana, from co-defendant Julio Contreras in south Texas. 4

        The evidence did not show that the Defendant personally distributed large

quantities of narcotics during the time period that was the focus of the trial—that is, from

late 2010 until late 2014. 5 The evidence did show, however, that the Defendant was, in

the Government’s words (Docket No. 275 at 11), the organization’s “muscle.” Specifically,

the Government introduced overwhelming evidence that the Defendant murdered Quincy

Balance, and attempted to murder Damon Hunter, after members of the Schuele Boys—



1 The Defendant was acquitted on Counts 9, 10, 11, and 12, all of which concerned narcotics and a firearm
that were found in the house where the Defendant was arrested.
2 At the time this Decision and Order is being filed, neither party has ordered a copy of the trial transcript.
Thus, this Decision and Order has been prepared based largely on the Court’s trial notes. Where the Court
quotes trial testimony in this Decision and Order, the Court Reporter has provided the Court with relevant
excerpts of the trial transcript.

3 There was no evidence that any member of the organization referred to the organization as the “Schuele
Boys.” The superseding indictment, however, referred to the organization as the “Schuele Boys,” and for
the sake of convenience, the Court does so as well.

4 Defendants Worthy, Travis and Contreras pleaded guilty before trial. Defendant Hicks’s trial was severed

from Defendant Arrington’s trial. See Docket No. 247.

5 Jerome Grant testified that the Defendant sold marijuana in the early 2000s. Grant also testified that, on
one occasion after he was released from prison in 2013, he bought an eight-ball of cocaine from the
Defendant.

                                                      2
   Case 1:15-cr-00033-EAW-HKS           Document 303       Filed 12/19/17     Page 3 of 23




including the Defendant—came to believe that Balance and Hunter had murdered a

Schuele Boys associate several days earlier. The Government also introduced evidence

that the Defendant had offered to engage in a similar retaliatory murder after a Schuele

Boys associate was robbed of $3,300 worth of marijuana.

                                       DISCUSSION

       A. Standard for judgment of acquittal

       Rule 29 imposes a heavy burden on a defendant challenging his conviction

following a jury trial. A court may enter a judgment of acquittal “only if the evidence that

the defendant committed the crime alleged is nonexistent or so meager that no

reasonable jury could find guilt beyond a reasonable doubt. In applying these principles,

[the Court] review[s] all of the evidence presented at trial in the light most favorable to the

government, crediting every inference that the jury might have drawn in favor of the

government.” United States v. Facen, 812 F.3d 280, 286 (2d Cir. 2016) (quotation marks

and citations omitted). In other words, Rule 29 requires that the Court give significant

deference to a jury’s findings as to “the weight of the evidence and the reasonable

inferences to be drawn” from that evidence. Id. (quotation marks omitted). This means

not only that the Court “must credit every inference that could have been drawn in the

government’s favor,” but that, in assessing the sufficiency of the evidence, the Court

“must view the evidence as a whole.” United States v. Applins, 637 F.3d 59, 76 (2d Cir.

2011). At bottom, “where either of the two results, a reasonable doubt or no reasonable

doubt, is fairly possible, the court must let the jury decide the matter.” Facen, 812 F.3d

at 286 (quotation marks and brackets omitted). Finally, when a defendant challenges his

conviction on a conspiracy charge—as the Defendant does with regard to Counts 1 and



                                              3
    Case 1:15-cr-00033-EAW-HKS              Document 303          Filed 12/19/17       Page 4 of 23




2—“deference to the jury’s findings is especially important because a conspiracy by its

very nature is a secretive operation, and it is a rare case where all aspects of a conspiracy

can be laid bare in court with the precision of a surgeon’s scalpel.” United States v.

Wexler, 522 F.3d 194, 207 (2d Cir. 2008) (quotation marks and ellipsis omitted).

        B. The Defendant’s arguments for acquittal

        The Defendant first renews his Rule 29 motion as to Count 1, which charged him

with being a member of a racketeering conspiracy. The Defendant next renews his Rule

29 motion as to Counts 4 and 7, which charged him, respectively, with murder and

attempted murder in aid of racketeering. Finally, the Defendant renews his Rule 29

motion as to Count 2, which charged him with being a member of a narcotics conspiracy.

The Court addresses each Count in turn. 6

                1. Count 1 (Racketeering Conspiracy)

                    a. The existence of an enterprise

        The Defendant first argues that the Government failed to introduce sufficient

evidence to allow a reasonable jury to find that an “enterprise” existed, as that term is

defined in the Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C.

§ 1961, et seq. Specifically, the Defendant argues that “[n]o one testified that there was

an ‘enterprise,’ what the enterprise was, who was in fact a member, or what the objectives

of the enterprise were.” Def. Mtn. ¶ 5. See also id. ¶ 7 (“There was no distinct testimony

of hierarchy, upward mobility or membership requirements. No one listed who they

believed were the Members of the ‘enterprise.’”)


6 The Defendant does not seek acquittal on Count 3. In addition, the Defendant does not expressly seek
acquittal on Counts 5, 6, or 8, all of which charged him with violations of 18 U.S.C. § 924(c). However,
because Counts 4 and 7 served as the predicate “crime[s] of violence” for Counts 5, 6, and 8, acquittal on
Counts 4 and 7 would require acquittal on Counts 5, 6, and 8.

                                                    4
  Case 1:15-cr-00033-EAW-HKS           Document 303       Filed 12/19/17    Page 5 of 23




       Count 1, however, did not charge the Defendant with a substantive RICO offense.

It instead charged him with conspiring to participate in the affairs of an enterprise through

a pattern of racketeering. Unlike a substantive RICO offense, the Government does not

need to prove the existence of an “enterprise” to prove a RICO conspiracy. See United

States v. Applins, 637 F.3d 59, 75 (2d Cir. 2011) (“We . . . conclude that Salinas [v. United

States, 522 U.S. 52 (1997)] counsels that the establishment of an enterprise is not an

element of the RICO conspiracy offense.”) The Government must instead prove that the

Defendant “intend[ed] to further an endeavor which, if completed, would satisfy all of the

elements of a substantive” RICO offense. Salinas, 522 U.S. at 65.

       The Defendant’s enterprise-based arguments are relevant to Counts 4 and 7

(murder and attempted murder in aid of racketeering), both of which require the

Government to prove the existence of an “enterprise.” But because the Government did

not need to prove that an “enterprise” existed to convict the Defendant of Count 1, the

Defendant’s motion for acquittal on that basis is denied.

                 b. Racketeering activity

       The Defendant next argues that he should be acquitted of Count 1 because there

was insufficient evidence to show “a pattern of ‘[r]acketeering’ on [his] part.” Def. Mtn. ¶

8. This argument misconstrues the nature of RICO conspiracy. It is well settled that, to

convict a defendant of RICO conspiracy, “only an agreement to commit two or more

predicate acts, rather than the acts themselves, need be proven.” United States v.

Persico, 832 F.2d 705, 713 (2d Cir. 1987) (emphasis added). “[I]n deciding whether a

defendant is guilty of RICO conspiracy, the jury must consider the predicate acts charged

against the defendant and his alleged co-conspirators to determine ‘whether the charged



                                             5
  Case 1:15-cr-00033-EAW-HKS          Document 303       Filed 12/19/17    Page 6 of 23




predicate acts were, or were intended to be, committed as part of that conspiracy.’”

United States v. Cain, 671 F.3d 271, 291 (2d Cir. 2012) (quoting United States v. Yannotti,

541 F.3d 112, 129 n.11 (2d Cir. 2008)). “Indeed, to secure [the Defendant’s] conviction

for RICO conspiracy, the [G]overnment [is] not required to prove the actual commission

of a single predicate act by [the Defendant] or by any other conspirator.” Yannotti, 541

F.3d at 129.

       Although it did not need to do so to secure a conviction on Count 1, the

Government introduced overwhelming evidence that the Defendant personally committed

one murder (Quincy Balance) and one attempted murder (Damon Hunter). Moreover, the

Government introduced substantial evidence that the racketeering conspiracy was

centered around a large-scale cocaine trafficking organization run by the Defendant’s co-

defendants. The circumstances surrounding each of these crimes, as described more

fully below, were sufficient to allow a reasonable jury to conclude that the acts were, or

were intended to be, committed as part of a racketeering conspiracy.

                 c. The Defendant’s membership in the conspiracy

       The Defendant next argues that there was insufficient evidence to prove that he

became a member of a RICO conspiracy. Def. Mtn. ¶ 8.

       “To be guilty of conspiracy, there must be some evidence from which it can

reasonably be inferred that the person charged with conspiracy knew of the existence of

the scheme alleged in the indictment and knowingly joined and participated in it.” United

States v. Snow, 462 F.3d 55, 68 (2d Cir. 2006) (quotation marks omitted).            “[T]he

government need not prove that a conspirator-defendant agreed with every other

conspirator, or knew all the other conspirators, or had full knowledge of all the details of



                                             6
    Case 1:15-cr-00033-EAW-HKS              Document 303         Filed 12/19/17       Page 7 of 23




the conspiracy.” United States v. Rastelli, 870 F.2d 822, 828 (2d Cir. 1989). This is true

even in a RICO conspiracy: The Government must prove “no more” than that the

defendant “kn[e]w the general nature of the enterprise and that the enterprise extends

beyond his individual role.” Id. (citations omitted). See also United States v. Zichettello,

208 F.3d 72, 99 (2d Cir. 2000) (same).

        The evidence introduced at trial was sufficient for a reasonable jury to find that the

Defendant knew of, and knowingly joined, a conspiracy to participate in the affairs of an

enterprise through a pattern of racketeering. To be sure, the evidence did not show that

the Defendant was intimately involved in every aspect of the conspiracy. The evidence

did not show, for instance, that the Defendant personally participated in the conspiracy’s

core racketeering activity of cocaine distribution. But a reasonable jury could have found

that the Defendant knew of the “general nature” of the conspiracy, knew that the

conspiracy extended beyond his role, and knowingly joined the conspiracy.

        For instance, the Government introduced evidence that the Defendant knew that

other Schuele Boys associates were involved in the dangerous business of selling large

volumes of narcotics: the Defendant was present when his co-conspirators broke down a

forty-pound bale of marijuana, and he offered another Schuele Boys associate a “family

price” to retaliate against the person who had robbed the associate of $3,300 worth of

marijuana. Likewise, Spencer Rogers testified that the Defendant often spent time at a

house in Schuele Boys territory that was owned by Hicks, and out of which a Schuele

Boys associate sold cocaine and marijuana. 7



7 In addition, Jerome Grant testified that he purchased an eight-ball of cocaine from the Defendant after
Grant was released from prison in 2013. The record does not show, however, the source of the Defendant’s
cocaine.

                                                   7
     Case 1:15-cr-00033-EAW-HKS            Document 303   Filed 12/19/17   Page 8 of 23




         The Defendant’s own conduct, however, was the strongest evidence of his

membership in the conspiracy. The Government introduced overwhelming evidence that

the Defendant murdered Quincy Balance, and attempted to murder Damon Hunter, after

the Defendant and his co-defendants came to believe that Balance and Hunter had

murdered Matt, 8 a friend of Hicks, who was selling cocaine and marijuana out of a house

owned by Hicks in Schuele Boys’ territory. Demario James testified that, at Matt’s wake,

the Defendant, Hicks, Worthy, and James Robbs, discussed “catch[ing] up with . . . the

guy that killed Matt.” They did so four days later, when the Defendant murdered Balance

and shot at Hunter.         Indeed, another witness, Jessica Kazukiewicz, confirmed that

Balance’s murder was in retaliation for Matt’s murder: Kazukiewicz, who was sitting in

Balance’s car before the Defendant shot Balance, heard Balance and Hicks “talking about

a shooting that happened on Carl Street”—that is, the location where Matt was

murdered—and heard Balance state that he “didn’t kill the man.” The Defendant then

murdered Balance and shot at Hunter. This evidence was sufficient for a reasonable jury

to conclude that the Defendant agreed to murder Balance and attempted to murder

Hunter because he believed that they had murdered Matt—a person, the Defendant

knew, who sold drugs out of a house that was located in Schuele Boys territory and owned

by Hicks. In other words, the evidence surrounding Balance’s murder and Hunter’s

attempted murder was sufficient for a reasonable jury to conclude (1) that the Defendant

knew of the general contours of the Schuele Boys’ racketeering activity, and (2) that he

knowingly joined their conspiracy.




8   Matt’s real name was Walter Davison.

                                                8
   Case 1:15-cr-00033-EAW-HKS                 Document 303          Filed 12/19/17       Page 9 of 23




        The Government also introduced other evidence from which a reasonable jury

could have found that the Defendant knowingly joined the conspiracy and that he knew,

at the very least, the general contours of the conspiracy’s racketeering activity. For

instance, the Government introduced two music videos produced by G.O.N.E. Ent., a

record label incorporated by Hicks. The Defendant appears in both of the music videos

that were introduced at trial.          The first video, “Front Door,” repeatedly shows the

Defendant—together with Hicks, Travis, Worthy, and many others—on and around

Schuele Avenue, as the video’s rapper, Serious Black, describes the drug trafficking

business. 9

        The second video, “Dinner Table,” begins by showing the Defendant standing next

to Black as Black tells the camera the extent of the Schuele Boys’ territory. See Gov’t

Ex. 24T (“We go from Schuele all the way down motherfuckin’ Courtland.”) The video

then shows the Defendant, together with Hicks, Travis, and many others, drinking

expensive champagne at a high-end steakhouse as a platter full of cash is brought to the

table. As with “Front Door,” the lyrics to “Dinner Table” describe the money that can be

made from drug trafficking: The song’s chorus repeats, “We call the trap the dinner

table/Eating trap the dinner table.” Id. One witness, Jerome Grant, testified that a “trap”

is a location where drugs are sold, and that, to “call the trap the dinner table” referred to

one’s ability to “eat”—that is, make a large amount of money—from selling drugs.

Throughout “Dinner Table,” the Defendant is seen sitting at a dinner table next to Hicks—




9 For instance, the lyrics to “Front Door” advise “[n]ever ever use the front door/The trap door built on the

side/Clientele in the back/Keep your work close by/And you gotta stay strappin’/Don’t be talking on the
phone/It’s too hot for all of that.” Gov’t Ex. 23T. Later, the lyrics state “36 in a brick, 16 in a pound/You
take it to the trap, you break it all down.”


                                                     9
  Case 1:15-cr-00033-EAW-HKS         Document 303       Filed 12/19/17    Page 10 of 23




that is, the person who was responsible for first arranging the Schuele Boys’ large-volume

cocaine purchases.

      Finally, as further evidence of the Defendant’s membership in the conspiracy, the

Government introduced a letter and exculpatory affidavit that the Defendant attempted to

give to his girlfriend while he was in the Niagara County Jail following his arrest in this

case. The letter asks “[h]ow its going with the Names, How many people we got so far?”

Gov’t Ex. 14A at 1. The letter then states:

      Tell Tory, Torrance Brother and His mom we need there Help too on this.
      Give them Like 10 copies so they can get shit gong to. Tell fat Stacks,
      Beans, OP, Jimmy to sign That paper too. My girl just gave you Affidavits
      Make sure you go with these Niggas to get them Notarized. I need these
      Back ASAP. I need you to give Tori one, fat stacks one, Beans one, Op
      one, Jimmy one. Tell them Niggas this shit gone set Niggas free, And gone
      Let me know who setting us up with the feds.

      The letter concludes: “Make sure this Letter is goneTear up Now.”              The

Government introduced evidence showing that each of the people referenced in this letter

were members of the Schuele Boys.

      The evidence described above—viewed, as it must be, in its entirety and in the

light most favorable to the Government—is sufficient for a reasonable jury to conclude

that the Defendant knew, at the very least, the general contours of the Schuele Boys’

racketeering activity, even if the evidence did not show that the Defendant was intimately

involved in the details of his co-defendants’ cocaine trafficking. See Applins, 637 F.3d at

75 (“[T]o be convicted as a conspirator under RICO, one must be shown to have

possessed knowledge of only the general contours of the conspiracy”) (quotation marks

omitted). And the evidence—in particular, the shooting and the music videos—provided

sufficient evidence for a reasonable jury to conclude that the Defendant knowingly joined

                                              10
  Case 1:15-cr-00033-EAW-HKS         Document 303       Filed 12/19/17    Page 11 of 23




the conspiracy: The shooting showed that the Defendant performed “work” on the

Schuele Boys’ behalf, while the videos repeatedly showed the Defendant, together with

other members of the Schuele Boys, as a Schuele Boys associate raps about engaging

in, and making money from, drug trafficking.

      To be sure, the evidence of the Defendant’s membership in the conspiracy was

more circumstantial than the evidence as to some of the conspiracy’s core members,

such as Hicks, Worthy, and Travis. But when reviewing the sufficiency of the evidence

of a person’s membership in a conspiracy, it is “especially important” to “view[] the

evidence in conjunction,” rather than in isolation, because a conspiracy must often be

proven through circumstantial evidence. United States v. Casmento, 887 F.2d 1141,

1156 (2d Cir. 1989). The Government easily proved the existence of a conspiracy among

Hicks, Worthy, and Travis. As a result, “the evidence sufficient to link” the Defendant “to

[the conspiracy] need not be overwhelming,” so long as the evidence showed the

Defendant’s knowledge of the conspiracy’s objective and his agreement to join the

conspiracy. Id. The evidence described above, taken together, was sufficient for a

reasonable jury to conclude (1) that the Defendant “agreed to participate in the broader

criminal conspiracy,” and (2) that the Defendant knew of that conspiracy’s general

contours. United States v. Yannotti, 541 F.3d 112, 122 (2d Cir. 2008).

      The Defendant responds that there was insufficient evidence to show that he was

a member of the conspiracy because “[h]e was proven to be either out of town or in prison

during many of the events of the trial, and no continued communication or role while he

was gone was established.” Def. Mtn. ¶ 8. This argument is beside the point. Although

the Defendant was incarcerated for periods of time during the conspiracy’s operation, he



                                            11
  Case 1:15-cr-00033-EAW-HKS           Document 303      Filed 12/19/17    Page 12 of 23




was not incarcerated from March 2011 through February 2013, and from May 2013 until

his arrest in this case in October 2014.

        In other words, the Defendant was not in jail for a significant period of time during

the conspiracy’s operation. And the time the Defendant was out of jail coincided with

significant moments in the life of the conspiracy: The Schuele Boys began shipping

cocaine to Buffalo from south Texas in November 2010, just four months before the

Defendant was released from jail, and their trafficking continued for much of the period of

time when the Defendant was out of jail. Moreover, the Defendant was, of course, out of

jail when he murdered Balance and attempted to murder Hunter, and he was obviously

out of jail when he appeared in several music videos that flaunted the Schuele Boys’ drug-

trafficking success. Thus, the Defendant’s time in jail has no bearing on whether there

was sufficient evidence for a reasonable jury to conclude that he was a member of a

conspiracy to participate in the affairs of an enterprise through a pattern of racketeering

activity.

               2. Count 4 (Murder in Aid of Racketeering) and Count 7 (Attempted
                  Murder in Aid of Racketeering)

        The Defendant also moves for judgment of acquittal on Counts 4 and 7. Those

Counts charged him, respectively, with murder in aid of racketeering, based on the

murder of Quincy Balance; and attempted murder in aid of racketeering, based on the

attempted murder of Damon Hunter.

        The Defendant challenges several elements of his convictions on Counts 4 and 7.

First, as with Count 1, the Defendant argues that the Government did not introduce

sufficient evidence of an “enterprise.” He next argues that the Government failed to

introduce sufficient evidence showing that the “enterprise was engaged in racketeering”;

                                             12
  Case 1:15-cr-00033-EAW-HKS               Document 303         Filed 12/19/17      Page 13 of 23




he asserts that he “had [no] position in the enterprise”; and he claims that the evidence

does not show that his “general purpose” in committing the murder and attempted murder

“was to maintain or increase his position in the enterprise.” United States v. Concepcion,

983 F.2d 369, 381 (2d Cir. 1992) (listing elements of § 1959 violation). 10 The Court

addresses each argument in turn.

                        a. The existence of an enterprise

        “There is no restriction upon the associations embraced by the definition” of the

term “enterprise.” United States v. Turkette, 452 U.S. 576, 580-81 (1981). See 18 U.S.C.

§ 1959(b)(2) (using nearly identical definition of “enterprise” as in RICO statute). In its

most basic form, an association-in-fact enterprise—that is, the type of enterprise alleged

in this case—is “a group of persons associated together for a common purpose of

engaging in a course of conduct.” United States v. Turkette, 452 U.S. 576, 580-81 (1981).

“Such an enterprise . . . ‘is proved by evidence of an ongoing organization, formal or

informal, and by evidence that the various associates function as a continuing unit.’”

Boyle v. United States, 556 U.S. 938, 944-45 (2009) (quoting Turkette, 452 U.S. at 583).

It is well-settled that “an association-in-fact enterprise must have a structure”—that is, the

enterprise must have “a purpose, relationships among those associated with the

enterprise, and longevity sufficient to permit these associates to pursue the enterprise’s

purpose.” Id. at 946.




10 To convict a person of violating 18 U.S.C. § 1959, the Government must also prove “that the defendant

committed the alleged crime[s] of violence.” Id. In this case, those crimes were the murder of Quincy
Balance and the attempted murder of Damon Hunter. The Defendant does not argue that the evidence
was insufficient for a reasonable jury to find that he murdered Quincy Balance and attempted to murder
Damon Hunter.

                                                  13
  Case 1:15-cr-00033-EAW-HKS           Document 303       Filed 12/19/17     Page 14 of 23




        The concept of an association-in-fact enterprise, however, is “not . . . rigid.” United

States v. Pierce, 785 F.3d 832, 838 (2d Cir. 2015). As an initial matter, the evidence of

an enterprise’s racketeering activity may also help define the enterprise’s structure. See

Boyle, 556 U.S. at 947 (“We recognized in Turkette that the evidence used to prove the

pattern of racketeering activity and the evidence establishing an enterprise ‘may in

particular cases coalesce.’”) (quoting 452 U.S. at 583).         And an association-in-fact

enterprise need not have business-like attributes, nor must it contain certain features that

might be associated with the popular understanding of a “gang.” The Defendant makes

a number of arguments along these lines, but the Supreme Court has succinctly rejected

them:

         [A]n association-in-fact enterprise is simply a continuing unit that
         functions with a common purpose. Such a group need not have a
         hierarchical structure or a ‘chain of command’; decisions may be made
         on an ad hoc basis and by any number of methods—by majority vote,
         consensus, a show of strength, etc. Members of the group need not
         have fixed roles; different members may perform different roles at
         different times. The group need not have a name, regular meetings,
         dues, established rules and regulations, disciplinary procedures, or
         induction or initiation ceremonies. While the group must function as a
         continuing unit and remain in existence long enough to pursue a course
         of conduct, nothing in RICO exempts an enterprise whose associates
         engage in spurts of activity punctuated by period of quiescence. Nor is
         the statute limited to groups whose crimes are sophisticated, diverse,
         complex, or unique; for example, a group that does nothing but engage
         in extortion through old-fashion, unsophisticated, and brutal means may
         fall squarely within the statute’s reach.

Id. at 948.

        With these principles in mind, the evidence introduced at trial was more than

sufficient for a reasonable jury to find that an “enterprise” existed. The Defendant is

correct that the evidence did not show that the Schuele Boys had any formal structure; it

                                              14
  Case 1:15-cr-00033-EAW-HKS          Document 303       Filed 12/19/17    Page 15 of 23




did not, for instance, have a defined hierarchy or specifically-defined roles. But the

enterprise’s structure in this case was more readily “proven by what [the enterprise] d[id],

rather than by abstract analysis of its structure.” United States v. Coonan, 938 F.2d 1553,

1559 (2d Cir. 1991) (quotation marks and emphasis omitted). See also Boyle, 556 U.S.

at 947. The evidence showed that the Defendant’s co-defendants—Hicks, Travis, Worthy

and Contreras—worked together for at least one year to ship hundreds of kilograms of

cocaine from south Texas to Buffalo, which they then sold to others for ultimate retail sale.

This core group, in other words, “joined in the shared purpose of selling drugs and

promoting such sales,” United States v. Burden, 600 F.3d 204, 25 (2d Cir. 2010), and

they did so in and around a relatively defined territory that served as their “base of

operations.” Pierce, 785 F.3d at 838. This was sufficient for a reasonable jury to conclude

that the Schuele Boys was an “enterprise.”

                     b. Racketeering activity

       To convict the Defendant of murder and attempted murder in aid of racketeering,

the Government must prove that the “enterprise” “engaged in racketeering activity,” as

that term is defined in RICO. See 18 U.S.C. § 1959(a); id. § 1959(b)(1); id. § 1961(1).

The Defendant argues that, “to show a pattern of ‘racketeering’ on the accused’s part,

there must be proof that the defendant was involved in two . . . acts of racketeering.” Def.

Mtn. ¶ 8.

       The statute charged in Counts 4 and 7, however—18 U.S.C. § 1959—“does not

require a ‘pattern’ of racketeering activity,” as a substantive RICO charge does; the

statute instead requires only that the enterprise be engaged in “racketeering activity.”

United States v. Soler, No. 94 Cr. 533 TPG, 1996 WL 734894, at *1 (S.D.N.Y. Dec. 24,



                                             15
  Case 1:15-cr-00033-EAW-HKS         Document 303      Filed 12/19/17    Page 16 of 23




1996). See also United States v. McAuley, 629 F. App’x 74, 76 (2d Cir. 2015) (observing

that 18 U.S.C. § 1959, “unlike RICO, does not require proof of a pattern of racketeering

activity”). The Government introduced overwhelming evidence that the Schuele Boys

engaged in multiple acts of narcotics trafficking, murder, and attempted murder, any one

of which is an example of “racketeering activity.” See 18 U.S.C. 1961(1).

                    c. The Defendant’s position in the enterprise

      The Defendant next argues that there was insufficient evidence to show that he

was a member of the Schuele Boys. Def. Mtn. ¶ 8. To prove a violation of 18 U.S.C.

§ 1959, the Government must prove “that the defendant in question had a position in the

enterprise.” Concepcion, 983 F.2d at 381. To have a “position” within an enterprise, a

person need not have a high-ranking role, nor must he control any part of the enterprise’s

criminal activity; a person who simply “commit[s] crimes under the auspices” of other

members of an enterprise has a “position” as much as someone who manages the

enterprise’s criminal activity. See United States v. Brady, 26 F.3d 282, 285, 289-91 (2d

Cir. 1994) (rejecting argument that, because defendant was an “associate” of organized

crime family, rather than a “made member,” he could not be convicted of violating § 1959).

      The Government introduced sufficient evidence for a reasonable jury to conclude

that the Defendant had a “position” in the Schuele Boys. As noted with regard to Count

1, the Government introduced evidence that the Defendant appeared in two music videos,

together with several members of the Schuele Boys. The Government also introduced a

letter written by the Defendant in which he requested that exculpatory affidavits be

circulated to other Schuele Boys members on his behalf; as Worthy testified with regard

to a similar exculpatory affidavit, these affidavits were a way in which he, together with



                                           16
  Case 1:15-cr-00033-EAW-HKS          Document 303      Filed 12/19/17     Page 17 of 23




the Defendant, Hicks, and Travis, “look[ed] out for each other,” in “the same way [they]

[did] on the streets.” Finally, the Defendant offered to, and did, commit acts of violence

on behalf of Schuele Boys associates. In particular, Quincy Balance’s murder—which,

the evidence showed, was done in retaliation for the murder of a Schuele Boys

associate—is strong evidence that the Defendant had a position as an “enforcer” within

the Schuele Boys. A reasonable jury could infer that the Defendant was chosen (or

volunteered) to murder Balance because he was trusted, by virtue of his membership in

the enterprise, to do the job.

       As the Court noted with regard to Count 1, the evidence of the Defendant’s position

within the Schuele Boys is largely circumstantial. But particularly in the case of an

association-in-fact enterprise, such as this one, it is unlikely that a properly-proven

enterprise will have a membership list, or that each member’s role in the enterprise will

be defined with precision. Thus, although the evidence of the Defendant’s position in the

enterprise was circumstantial, that evidence—when viewed as a whole and in the light

most favorable to the Government—was sufficient for a reasonable jury to conclude that

the Defendant had a position in the enterprise.

                     d. The “purpose for” the murder and the attempted murder

       Finally, the Defendant argues that he should be acquitted on Counts 4 and 7

because there was insufficient evidence for a reasonable jury to conclude that the

Defendant murdered Quincy Balance and attempted to murder Damon Hunter “for the

purpose of gaining entrance to or maintaining or increasing position in” an enterprise. 18

U.S.C. § 1959(a). See Def. Mtn. ¶ 15 (“[E]ven if the Court accepts the Jury’s assessment

that Mr. Arrington was responsible for the death of Mr. Balance, the killing was only proven



                                            17
  Case 1:15-cr-00033-EAW-HKS          Document 303      Filed 12/19/17    Page 18 of 23




to be a ‘retribution’ killing, because a friend was killed. No one testified in any fashion

that Mr. Balance was killed to further any component of an ‘enterprise.’”)

       The Second Circuit has rejected “the notion that the ‘for the purpose of’ element”

in 18 U.S.C. § 1959 “must be the defendant’s sole or principle motive.” United States v.

Burden, 600 F.3d 204, 220 (2d Cir. 2010). Rather, § 1959’s “motive requirement [is]

satisfied if the jury could properly infer that the defendant committed his violent crime

because he knew it was expected of him by reason of his membership in the enterprise

or that he committed it in furtherance of that membership.” United States v. Concepcion,

983 F.2d 369, 381 (2d Cir. 1992).

       The evidence introduced at trial was sufficient for a reasonable jury to conclude

that, when the Defendant murdered Quincy Balance and shot at Damon Hunter, he did

so because “he knew it was expected of him by reason of his membership” or that “he

committed [the crimes of violence] in furtherance of that membership.” Id. The evidence

showed that the Defendant shot Balance and Hunter because he and his co-defendants

believed that Balance and Hunter had killed a Schuele Boys associate, Matt, just four

days earlier. Demario James testified that, at Matt’s wake, the Defendant, Hicks, and

others discussed “catch[ing] up with . . . the guy that killed Matt.” And, as noted earlier,

Jessica Kazukiewicz, who was sitting in Balance’s car before the shooting began, heard

Balance and Hicks talking about “a shooting that happened on Carl Street” and heard

Balance state that he “didn’t kill the man.”     The Defendant then shot Balance and

attempted to shoot Hunter. This is sufficient for a reasonable jury to conclude that the

Defendant committed these acts of violence because the Schuele Boys felt the need to

assert control over their territory and because the Defendant’s role in the enterprise—that



                                            18
  Case 1:15-cr-00033-EAW-HKS           Document 303       Filed 12/19/17    Page 19 of 23




is, what “was expected of him by reason of his membership,” Concepcion, 983 F.2d at

381—was to use force to assert the Schuele Boys’ territorial dominance.

       There is no question that the evidence showed that the murder and attempted

murder were, in part, acts of revenge. But that does not mean that they do not also satisfy

the “purpose” requirement of § 1959: “A murder can both be ‘an act of personal revenge’

and still be ‘tied to . . . racketeering activities.’” United States v. Krasniqi, 555 F. App’x

14, 17 (2d Cir. 2014) (quoting United States v. James, 239 F.3d 120, 124 n.5 (2d Cir.

2000)). From the evidence described above, a reasonable jury could have concluded

that the Defendant’s “purpose” in murdering Balance and attempting to murder Hunter

was to “maintain[] or increas[e] [his] position in” the Schuele Boys. 18 U.S.C. § 1959(a).

              3. Count 2 (Narcotics Conspiracy)

       Finally, the Defendant renews his Rule 29 motion as to Count 2, which charged a

narcotics conspiracy, in violation of 21 U.S.C. § 846. The Defendant argues that “[n]o

one testified that [the] defendant was part of any agreement involving drugs of any kind

and no one heard a conversation or was part of a conversation wherein the defendant

was part of a drug sale or deal.” Def. Mtn. ¶ 13. Similarly, the Defendant argues, only

one witness testified that he was present when others were breaking down a bundle of

marijuana, while “[n]o one said [the Defendant] funded or benefited from drug sales.

Surely [the Defendant’s] membership nor role in a drug conspiracy was not established.”

Id.

       The Defendant’s Rule 29 motion as to Count 2 must be viewed in light of the broad

nature of conspiracy law. As the Supreme Court has recognized, “[a] conspirator must

intend to further an endeavor which, if completed, would satisfy all of the elements of a



                                             19
     Case 1:15-cr-00033-EAW-HKS             Document 303          Filed 12/19/17        Page 20 of 23




substantive offense, but it suffices that he adopt the goal of furthering or facilitating the

criminal endeavor. He may do so in any number of ways short of agreeing to undertake

all of the acts necessary for the crime’s completion. One can be a conspirator by agreeing

to facilitate only some of the acts leading to the substantive offense.” Salinas, 522 U.S.

at 65. Or, put differently, different members of a conspiracy may perform different roles

to further the members’ common objective: “The partners in the criminal plan must agree

to pursue the same criminal objective and may divide up the work, yet each is responsible

for the acts of each other.” Id. at 63-64 (citing United States v. Pinkerton, 328 U.S. 640,

646 (1946)).

        Viewed in the light most favorable to the Government, a reasonable jury could have

found that, as with Count 1, the Defendant was the “muscle” for his co-conspirators’ drug

trafficking conspiracy. In other words, in the “divi[sion] [of] work,” id., the Defendant’s job

was not distribution, but was, instead, protection. Indeed, as Spencer Rogers testified,

drug trafficking is territorial, and a drug dealer who attempts to sell drugs in another

group’s territory can expect violence. 11 A reasonable jury could have found that, within

the Schuele Boys, the role of using violence to ward off rivals fell to the Defendant.

         The most prominent evidence of this theory was, as noted several times, the

overwhelming evidence that the Defendant murdered Quincy Balance, and attempted to

murder Damon Hunter. But there was also more evidence from which a reasonable jury

could have concluded that the Defendant was the Schuele Boys’ “muscle”: Demario

James testified that Matt’s wake was not the only time the Defendant had offered to “catch

up to” someone. James testified that, in 2012, the Defendant approached him, said that


11Rogers testified that he “fortified” a new drug house in a part of Buffalo outside the Schuele Avenue area
but that the house was set on fire the day after it was opened for business.

                                                    20
  Case 1:15-cr-00033-EAW-HKS         Document 303       Filed 12/19/17    Page 21 of 23




“he knew the guy that had robbed” James of $3,300 worth of marijuana, and offered, “if

[James] wanted him to take care of it,” to do so “at a family price” of $5,000. Likewise,

Jerome Grant testified, albeit more vaguely, that the Defendant had offered to perform

similar services for him.

       This evidence was sufficient for a reasonable jury to find that the Defendant’s role

in the narcotics conspiracy was protection, and not distribution. See United States v.

Barret, No. 10-cr-809 (S-4)(KAM), 2012 WL 3229291, at *21-22 (E.D.N.Y. Aug. 6, 2012)

(denying Rule 29 motion in narcotics conspiracy where defendant “was present” during

“unloading, weighing, measuring, and distribution of over 225 pounds of marijuana”;

where defendant “was given a gun to protect the marijuana”; where he purchased

marijuana; where defendant was “always strapped”; and where he “protected . . . the

leader of the conspiracy, during parties in which marijuana-related disputes were known

to arise”). Protecting members of a narcotics conspiracy furthers the conspiracy’s goal

as much as selling narcotics does. The Defendant’s motion for judgment of acquittal on

Count 2 is, therefore, denied.

       C. The Defendant’s motion to dismiss for lack of subject-matter jurisdiction

       During trial, defense counsel adopted the Defendant’s pro se motion to dismiss the

superseding indictment for lack of subject-matter jurisdiction. See Docket No. 232. The

motion seeks “documentation of subject-matter jurisdiction in which was completely

absent from [the] superseding indictment” and claims that “[t]he prosecution has not

included the jurisdictional language in the indictment.” Docket No. 232 at 2. The motion

also claims that the Court lacks subject-matter jurisdiction over this case because “[t]he

government left out the fact that the alleged crime must occur within the territorial



                                            21
  Case 1:15-cr-00033-EAW-HKS            Document 303        Filed 12/19/17     Page 22 of 23




jurisdiction of the United States pursuant to 18 U.S.C. § 7(3)” and because there is no

evidence that one or several of the States ceded to the United States the territory on

which the crimes in this case occurred. Id. at 5-6.

       The Court has subject-matter jurisdiction over this case pursuant to 18 U.S.C.

§ 3231, which states that: “The district courts of the United States shall have original

jurisdiction, exclusive of the courts of the states, of all offenses against the laws of the

United States. Nothing in [Title 18] shall be held to take away or impair the jurisdiction of

the courts of the several states under the laws thereof.” This law has been in effect since

1948, and it has never contained a requirement that an indictment allege historical

legislative actions, or a requirement that documentary proof of such actions be placed in

the record to trigger a district court’s subject-matter jurisdiction. It is, instead, well settled

that, “to invoke a district court’s jurisdiction, an indictment need only allege that a

defendant committed a federal criminal offense at a stated time and place in terms plainly

tracking the language of the relevant statute.” United States v. Rubin, 743 F.3d 31, 38

(2d Cir. 2014). The indictment in this case does that.

       The Defendant’s motion to dismiss also appears to argue that the superseding

indictment contains other jurisdictional or pleading defects. This argument does not merit

extended discussion. The offenses charged in the superseding indictment are well within

Congress’s power to criminalize. See Gonzales v. Raich, 545 U.S. 1 (2005); United

States v. Lopez, 514 U.S. 549, 558-59 (1995); United States v. Muyet, 994 F. Supp. 501,

525 (S.D.N.Y. 1998).

       The Defendant’s motion to dismiss is, therefore, denied.




                                               22
  Case 1:15-cr-00033-EAW-HKS        Document 303      Filed 12/19/17   Page 23 of 23




                                    CONCLUSION

       For the reasons stated above, the Defendant’s motion for judgment of acquittal

and his motion to dismiss are both denied.

SO ORDERED.



Dated: December 19, 2017                          ___s/Richard J. Arcara__________
       Buffalo, New York                          HONORABLE RICHARD J. ARCARA
                                                  UNITED STATES DISTRICT JUDGE




                                             23
